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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

CUTBERTO VIRAMONTES, et al.,                     )
                                                 )
                       Plaintiffs,               )
                                                 )
               v.                                )       No. 21 CV 4595
                                                 )
THE COUNTY OF COOK, et al.,                      )       Judge Rebecca R. Pallmeyer
                                                 )
                       Defendants.               )

                                             ORDER

       Plaintiffs’ motion for stay [69] is denied without prejudice. The parties are directed to

submit a proposed agreed briefing schedule for Defendants’ Motion for Summary Judgment [80].

                                          STATEMENT

       Plaintiffs moved to stay this case pending the resolution of Harrel v. Raoul, 3:23-cv-00141

(S.D. Ill.), which challenges the newly passed statewide assault weapons ban. (See [69], [70].)

At a hearing on March 8, the parties discussed the interplay between this case, Harrel, and Bevis

v. City of Naperville, No. 22-cv-4775 (N.D. Ill.), and the challenging issues presented by this

motion. After careful consideration of those issues, and recognizing the merits of each side’s

position, rhe court declines to enter a stay. The parties have already invested considerable

resources preparing this case for trial, and Defendants have filed their motion for summary

judgment.    While Bevis—on appeal after Judge Kendall declined to issue a preliminary

injunction—will reach the Seventh Circuit first, there is no guarantee that it will be resolved in a

way that resolves this case, too. That leaves this case as the first one likely to reach the Seventh

Circuit after a final judgment, on a fully-developed record. Given the importance of the issues

and the substantial attention to the issue presented here, the public interest weighs in favor of

presenting a case with substantial record to the Court of Appeals as quickly as possible. This

case provides the best vehicle.
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       That said, the court will continue to monitor developments in related cases with the able

assistance of the parties. The court may, for example, reconsider whether a stay is appropriate

after the Seventh Circuit resolves the pending appeal in Bevis.

       The parties are directed to submit a proposed agreed briefing schedule for Defendants’

Motion for Summary Judgment [80].

                                                ENTER:



Dated: March 8, 2023                            ______________________________________
                                                REBECCA R. PALLMEYER
                                                United States District Judge




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